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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF IOWA

                                                           )
 UNITED STATES OF AMERICA,                                 )                        4:21-CR-00145
                                                           )
                          v.                               )
                                                           )
 MICHAEL ALLEN DARROW II,                                  )         GOVERNMENT’S SENTENCING
                                                           )              MEMORANDUM
                               Defendant.                  )


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                                I.        Background & Sentencing Issues

         By an indictment returned in November 2021, Defendant was charged with

one count of conspiracy to distribute a controlled substance, in violation of Title 21

United States Code, Sections 841(a)(1), 841(b)(1)(A), and 846. (Dkt. 2.) Specifically,

Defendant was charged with conspiring with others, to knowingly and intentionally

possess with intent to distribute and distribute a controlled substance, namely: 50

grams or more of methamphetamine and 500 grams of or more of a mixture and

substance containing a detectable amount of methamphetamine, a Schedule II

controlled substance. (Id.)

         In October 2022, Defendant, pursuant to a plea agreement, pleaded guilty to

Count One. (Dkt. 42.) Sentencing is scheduled for March 28, 2023. The issue before


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the Court is determination of a sentence that is sufficient but not greater than

necessary. 1 There is no forfeiture or restitution. There are no counts to dismiss at

sentencing.


                             II. Appropriate Sentence

      The Guideline calculations are as follows:

              Base Offense Level:                             38
              Acceptance of Responsibility:                   -3
              Total Offense Level:                            35

              Criminal History Category: VI

                       Guideline Range: 292 to 365 months’
                     Mandatory Minimum Sentence: 120 months’

      The appropriate sentence to be imposed by the Court should be Asufficient but

not greater than necessary@ to meet relevant sentencing objectives, which include:

      1.      the nature and circumstances of the offense and history and
              characteristics of the defendant;
      2.      the need for the sentence to imposed -
              A.     to reflect the seriousness of the offense, to promote respect for the
                     law, and to provide just punishment for the offense;
              B.     to afford adequate deterrence to criminal conduct;
              C.     to protect the public from further crimes of the defendant; and
              D.     to provide the defendant with needed educational or vocational
                     training, medical care, or other correctional treatment in the most
                     effective manner;
      3.      the kinds of sentences available;
      4.      the guideline sentencing range;


1Defendant objects to the inclusion of paragraphs 69 thru 74, which discuss charges
that were dismissed. (Dkt. 47.) For the reasons set forth in the United States
Probation Officer’s addendum to the PSR, the government respectfully requests that
the Court overrule the objection and that paragraphs 69 thru 74 remain in the PSR.
(Dkt. 52 at 37-38.) In any event, the government does not rely on the challenged
paragraphs in its sentencing recommendation.
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      5.     any pertinent policy statement;
      6.     the need to avoid unwarranted sentence disparities among defendants
             with similar records who have been found guilty of similar conduct; and
      7.     the need to provide restitution to any victims of the offense.

See 18 U.S.C. ' 3553(a).

      A sentence at the bottom of the guideline range—292 months—is sufficient but

not greater than necessary based on the Section 3553(a) sentencing factors. The

nature and circumstance of this offense are serious. Defendant conspired to distribute

large quantities of methamphetamine for a significant time period—more than one

year. Defendant’s drug trafficking activities involved interstate travel, as Defendant

repeatedly   traveled   to   Kansas    City    to   obtain   significant   quantities   of

methamphetamine—totaling approximately 75 pounds—for transport to Iowa. (PSR

para. 14.) Law enforcement made two significant seizures of methamphetamine that

had been possessed by Darrow—385 gams of methamphetamine mixture in October

2020 and 2,152 grams of actual methamphetamine in 2021. (Id. at paras. 23-24.)

Based on the significant time frame, interstate travel, and large quantities of

methamphetamine, the nature and circumstances of this offense are serious.

      As to Defendant’s request for a downward variance because purity is not an

accurate proxy for culpability, the government respectfully requests the Court deny

the request. The unobjected to facts in the PSR demonstrate Defendant trafficked

large quantities of methamphetamine into Iowa over a sustained time period.

Defendant’s culpability is not overstated by a base offense level of 38 (based on purity)

as opposed to a 36 (based on mixture).



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      A sentence at the bottom of the guideline range is sufficient but not greater

than necessary based on Defendant’s criminal history, the need to impose just

punishment, and the need to protect the public from further crimes by Defendant. As

noted by the PSR, Defendant is a career offender based on three qualifying drug

convictions. (PSR at paras. 38, 53, 54, 55.) He has a total of 20 criminal history points,

seven more than that which is necessary to be categorized as Category VI. (Id. at 67.)

As part of the plea agreement, the government withheld two Section 851 notices,

which otherwise would have increased the mandatory minimum sentence to 180

months’ imprisonment.       (Dkt. 2, 42.) By the government’s count, the instant

conviction represents Defendant’s fifth felony drug conviction. (PSR at paras. 53, 54,

55, 60.) Defendant was convicted the instant offense while on parole for a state felony

drug conviction. (Id. at 60.) Defendant also has several convictions for assaultive

behavior (id. at paras. 56, 61) as well as a 2021 conviction for willful injury resulting

in serious injury (id. at 62.) Defendant’s criminal record indicates he is a recidivist,

he has a history of assaultive behavior, and that a sentence at the bottom of the

ranges is sufficient but not greater than necessary in this case.




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                                              III.   Conclusion

          For the reasons discussed above, the government respectfully requests the

Court impose a sentence at the bottom of the guideline range, 292 months’.


                                                          Respectfully submitted,

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CERTIFICATE OF SERVICE

I hereby certify that on March 22, 2023, I
electronically filed the foregoing with the
Clerk of Court using the CM ECF system. I hereby
certify that a copy of this document was served
on the parties or attorneys of record by:

     U.S. Mail       Fax      Hand Delivery

 X    ECF/Electronic filing    Other means

UNITED STATES ATTORNEY
By: /s/_ ALJ, AUSA




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